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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------------- X
                                                                       :
ACCENT DELIGHT INTERNATIONAL LTD., et al.,                             :
                                                                       :
                                    Plaintiffs,                        :     18-CV-9011 (JMF)
                                                                       :
                  -v-                                                  :          ORDER
                                                                       :
SOTHEBY’S, et al.,                                                     :
                                                                       :
                                    Defendants.                        :
                                                                       :
---------------------------------------------------------------------- X

JESSE M. FURMAN, United States District Judge:

        The Court has reviewed the settlement agreement resolving claims between the Da Vinci

Sellers and Sotheby’s in camera. For the reasons discussed on the record during the conference

held on July 15, 2020, the Court concludes that the subpoena should be and is quashed to the

extent that it seeks the settlement agreement. No later than July 22, 2020, Plaintiffs shall file the

settlement agreement under seal — restricting viewing access to ex parte — in accordance with

the ECF Rules and Instructions for the Southern District of New York, available at

https://nysd.uscourts.gov/rules/ecf-related-instructions.

        SO ORDERED.


Dated: July 17, 2020                                       __________________________________
       New York, New York                                           JESSE M. FURMAN
                                                                  United States District Judge
